                                                                                Motion set for hearing
                                                                                on 2/21/14 at 1:00
                           UNITED STATES DISTRICT COURT                         p.m.
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )       Case No. 2:11-cr-00002-25
       v.                                    )
                                             )       JUDGE TRAUGER
COURTNEY JO RABIDEAU                         )


            MOTION TO CONTINUE PLEA AND SENTENCING HEARINGS

       The United States of America, through David Rivera, United States Attorney for the

Middle District of Tennessee, and Assistant United States Attorney Blanche Cook, moves this

Honorable Court to continue both the plea and sentencing hearings in this matter.             The

sentencing hearing is currently scheduled for Friday, February 21, 2014.         In support of its

motion, the Government states the following:

       Defendant Courtney Jo Rabideau’s sealed position statement (Docket Entry (DE) 1630),

constitutes a breach of the plea agreement between the parties, (DE 1603, Minute Entry, “Plea

agreement reserved). The Court has not accepted the plea agreement between the parties.

Because the Defendant has breached the agreement, which the Court has not accepted, the

Government is no longer bound by the plea agreement or any of its terms.             Because the

Government is no longer bound by the plea agreement, the Government moves this Court to

continue both the plea and sentencing hearings in the instant case.

                             SIGNIFICANT PROCEDURAL HISTORY

       On November 22, 2013, the Parties signed a plea agreement stating the following:

       12.    The parties agree to recommend that sentence be imposed within the
       court-determined guidelines range and to make no further recommendation
       concerning at what point within the range sentence should be imposed. Neither
       party will request a sentence outside of the court-determined guidelines range by




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